 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 1 of 24 PagelD #:102

Grace L. Stovall
Plaintiff

vs

Lori Lightfoot

David Brown
Kimberly Foxx

IN THE Nok
FOR THE nore

in her individual and official capacity
City of Chicago, City of Chicago Police Department in their individual and official capacity
Superintendent of the Chicago Police Department

in her individual and official capacity

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Melinda Barrett States Attorney victim witness supervisor

Michael Blanchard
Mark Blanchard
Mario Cusumano

Deeatra Love Blanchard

Steven Robinson
Nanette Foster
Wayne Thomas
Kushala Vora
Gabe Williams
Amy McCarty
Tarick Loutfi
Mark Flessner

Chicago Police officer :
Chicago Police officer :
Chicago Police officer :
Chicago Police officer :
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:
Chicago Police officer:

Jermaine Townsend
Gemera Brown
Henry Lai
Marco Torres
Grzgorz Wilcvek
Sylvia Szarek
Gabriel Ruvalcaba
Kelvin Williams
Robert Costello
Tamara Margolis
Kellee Gary
Orlando Long
Joseph Aguirre
Dario Mariscal

Steven Rowling

Eric Carter

Non Record and Unknown Defendants

| All Defendants in their individual and official Capacity

1:23-cv-1761
JUDGE PACOLD
MAGISTRATE JUDGE COLE

RANDOM
Badge # 19758 51st Wentworth Police Station
Badge # 13372 Sisr Wentworth Police Station
Badge # 21838 51st Wentworth Police Station
Badge # 21344 51st Wentworth Police Station

51** Wentworth Police Station
51** Wentworth Police Station
51** Wentworth Police Station

Badge # 17490
Badge # 11526
Badge # 1879

Badge# 847 51* Wentworth Police Station
Badge # 231 51** Wentworth Police Station
Badge # 594 51% Wentworth Police Station
Badge # 20044 51*t Wentworth Police Station

51** Wentworth Police Station

51* Wentworth Police Station

Badge# 7023 51° Wentworth Police Station

Badge# 993 515* Wentworth Police Station

First Deputy Superintendent of the City of Chicago Police Department

Badge# 1455
Badge # 20510

‘ Complaint at Law

Now Comes the Plaintiff, Grace Stovall, complaining against the Defendants, Chicago Police officers: Jermaine Townsend,
Gemera Brown, Grzgorz Wilcvek, Sylvia Szarek, Henry Lai, David Brown (Superintendent of the Chicago Police Department)
Marco Torres, Gabriel Ruvalcaba, Kelvin Williams, Robert Costello, Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre,
Dario Mariscal, Steven Rowling and other unidentified Chicago police officers, individually , and The City of Chicago et, al. who
“acted in concert” with their accomplices Defendants Lori Lightfoot, David Brown (Superintendent of Chicago Police Department,
Kimberly Foxx, Melinda Barrett, Michael Blanchard, Mario Cusumano, Deeatra Love Blanchard, Mark Blanchard, Kushala Vora,

Steven Robinson, Nanette Foster, Wayne Thomas, Amy McCarty, Tarick Loutfi, Gabriel Williams, Alton Williams, Eric Carter (DSP
of Chicago Police), Mark Flessner, individually and in their official capacity and the City of Chicago as follows: | Grace Stovall, the
Aggrieved Plaintiff, state under oath, in accordance to the law that my Civil Rights have been willfully violated by these Defendant
City of Chicago Police Officers and their accomplices who “acted in concert” to willfully violate the Plaintiff, Grace Stovall’s Civil
Rights that are protected under the Constitution and the laws of the United States Under 42 U.S.C § 1983, 1985 and 1986.

The Court having jurisdiction under 28 U.S.C § 1343 and 1367. 1of 14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 2 of 24 PagelD #:103
Facts Common to All Counts

. This action is brought pursuant to the Laws of the United States Constitution, specifically, 42 U.S.C.
§ 1983 and § 1988, and the laws of the State of Illinois to redress deprivations of the Civil Rights
of the Plaintiff, and accomplished acts and /or omissions of the Defendants under color of law.

. Jurisdiction is based on 28 U.S.C. § 1331, § 1343, and § 1367.

. The Plaintiff, Grace Stovall, is a United States citizen and permanent resident of the State

of Illinois.

. The Defendant City of Chicago Police Officers, Jermaine Townsend, Gemera Brown, Henry Lai,
Marco Torres, Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba, Kelvin Williams, Robert Costello,
Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal, Steven Rowling,
David Brown (Superintendent of the Chicago Police Department and unidentified City of Chicago
Police officers were at all relevant times duly appointed Police Officers of the City of Chicago

and at all relevant times were acting within their scope of employment and under color of law
when they “acted in concert” with their accomplices Lori Lightfoot, David Brown, Kimberly Foxx,
Melinda Barrett, Michael Blanchard, Mario Cusmano, Deeatra Love Blanchard, Mark Blanchard,
Steven Robinson, Kushala Vora, Nanette Foster, Wayne Thomas, Gabe Williams (City of Chicago
employee that fences stolen property on his truck), his son Alton Williams (City of Chicago
employee working for Sheriff’s Department), Amy McCarty, Joseph Monahan, Tarick Loutfi ,

Lori Lightfoot, David Brown (Superintendent of the Chicago Police Department, Kimberly Foxx

and other unknown Defendants that “acted in concert” with the Defendant City of Chicago Police.

. The Defendant City of Chicago, was at all times relevant hereto an Illinois Municipal Corporation
duly authorized and chartered under the laws of the State of Illinois, operating and managing the
Chicago Police Department by and through its employees, including the Chicago Police officers
Defendants Jermaine Townsend, Gemera Brown, Henry Lai, David Brown (Superintendent of the
Chicago Police Department), Marco Torres, Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba,
Kelvin Williams, Robert Costello, Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre,
Dario Mariscal, Steven Rowling and other unidentified Chicago Police Officers.

On April 4, 2021, The Plaintiff was inside her residence in her bedroom when the offenders
Michael Blanchard, and his accomplices came to the 3 floor and trespassed into her apartment
while she was naked and Michael Blanchard hit the Plaintiff in the head and face with a 2 x 4 beam
as a weapon, he hit her with an iron chair from her dining room set and he sprayed her in her eyes
and face with mace while she was calling 911 Emergency for help, an ambulance, fire department
and police to arrest the offenders Michael Blanchard, Steven Robinson, Deeatra Love Blanchard,
Mark Blanchard, Kushala Vora who “acted in concert” to commit the trespass, assault and battery.

On April 5, 2021, Plaintiff took her numerous Police reports that she “previously filed” against
offenders Michael Blanchard and his accomplices and her April 4, police report against the offenders
to the warrant office at 111" station where she signed warrants for the criminal trespass, assault
and battery arrests of the Offenders, Michael Blanchard and his accomplices Mark Blanchard,
Kushala Vora, Deeatra Love Blanchard, Steven Robinson and other unknown Defendants. 2 of 14
8.

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 3 of 24 PagelD #:104

On April 7, 2021, Plaintiff was inside her residence sitting on her bed in her bedroom on the 3" Fir.
rear apartment located at 5114/5112 S. Ingleside, Chicago, Illinois.

On April 7, 2021, Defendants Jermaine Townsend and Gemera Brown and other unidentified
Chicago Police Officers, were present at 5114/5112 S. Ingleside and they “acted in concert” with
their accomplices, Michael Blanchard, Steven Robinson, Mario Cusumano, Deeatra Love Blanchard,
Mark Blanchard and unknown Defendants.

Count 1

Defendant Police “Acted In Concert” to Willfully Commit Unlawful/Unreasonable Search:

Defendant Chicago Police Jermaine Townsend, Gemera Brown, Henry Lai, Marco Torres,

David Brown (Superintendent of Chicago Police Department), Grzgorz Wilcvek,

Sylvia Szarek, Gabriel Ruvalcava, Kelvin Williams, Robert Costello, Tamara Margolis,

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Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal, Steven Rowling,
David Brown (Superintendent of City of the Chicago Police Department)
and other unidentified Chicago Police Officers “acted in concert”

Plaintiff incorporates by reference 1 through 9 above as if fully set forth herein.

Plaintiff resided at 5114/5112 S. Ingleside Chicago, Illinois with assigned keys exclusively made
and allocated for the Plaintiff’s exclusive use as a legal tenant, as confirmed on her State ID, mail,
a lease and Security deposit rent receipt that was signed by Michael Blanchard on his “official”
business stationary “Blanchard Enterprises” receipt, that he personally gave to the Plaintiff, Grace
Stovall.

Plaintiff was not committing any crime or breaking any laws.

The Defendants “acted in concert” and illegally entered the Plaintiff’s home while she was sitting
on her bed in her bedroom naked from the waist down.

Evidence Police Body Camera video footages recorded the Plaintiff, Grace Stovall’s nakedness.

The Defendants did not have a search warrant to enter the Plaintiff’s home while she was naked
from the waist down.

The Defendants did not have probable cause to enter the Plaintiffs home while she was naked
from the waist down sitting on her bed in her bedroom.

Defendants “acted in concert” to forcefully break into the Plaintiff’s home while she was naked
from the waist down sitting on her bed in her bedroom. 3 of 14
 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 4 of 24 PagelD #:105

18. The Defendant City of Chicago Police “acted in concert” and committed Police Brutality when the
Police grabbed, tackled and maliciously “torture handcuffed” the Plaintiff causing her excruciating
pain and bruises all over her body while the Plaintiff was naked from the waist down, on her bed
in her bedroom while male Police were present with the female Plaintiff naked.

19. Defendants City of Chicago Police “acted in concert” to willfully commit Police brutality causing
lacerations and bruises all over the Plaintiff's body and serious injuries and nerve damage to the
Plaintiff's wrists, fingers and hands.

20. Defendants searched Plaintiff’s person while she was naked from the waist down.

21. Said actions of the Defendants were intentional, willful and wanton.

22. As a direct and proximate consequence of said conduct of the Defendants, the Plaintiff suffered
violations of her Constitutional rights, emotional anxiety, trauma, fear, pain, police brutality
bruises all over her body, suffering monetary loss, expense, willful endangerment and invasion
of her personal privacy while she was naked in the presence of Defendant Chicago police men.

23. Defendant City of Chicago Police “acted in concert” with their accomplices Michael Blanchard,
Deeatra Love Blanchard, Mario Cusumano, Mark Blanchard, Steven Robinson Nanette Foster,
Wayne Thomas, Amy McCarty, Tarick Loutfi and unknown Defendants to continue their illegal
patterns of stalking, liable, slander, defamation, endangerment of the plaintiff’s life by the Police
“acting in concert” to willfully fabricate false police reports to false arrest, malicious prosecute
the Plaintiff to illegally Police evict her to facilitate the Police Robbery Raid Home Invasion of the
Plaintiff's apartment to steal her “apartment full” of her possessions, valuables and evidence that
she collected against the Defendant City of Chicago Police and their accomplices

24. Defendant City of Chicago Police “acted in concert” with slumlords Michael Blanchard,
Deeatra Love Blanchard and their accomplices to commit illegal eviction lock out during the
Federal Eviction Moratorium, Stay at home orders, causing the Plaintiff to be on the streets,
homeless and indigent.

25. Defendant City of Chicago Police ‘acted in concert’ to willfully fabricate false Police report to
willfully commit malicious prosecution false arrest of the Plaintiff based on the police acting in
concert with their accomplices to willfully fabricate false allegations on false police report

26. Defendant City of Chicago Police “acted in concert’ with their accomplices and Michael Blanchard
to fraudulently steal the “apartment full” of the Plaintiff’s clothing, possessions and valuables that
includes numerous legal briefs, litigation file, Defendant Chicago Police depositions, numerous
affidavits and evidentiary evidence and research information on the Defendants and their
accomplices

WHEREFORE, the Plaintiff, Grace Stovall prays for judgment against the Defendants jointly and severally,
for reasonable compensatory damages and punitive damages, plus attorney’s fees and costs, and any other
relief this Honorable Court deems just and appropriate. 4of14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 5 of 24 PagelD #:106

Count Il
Unreasonable Seizure:

Defendant: City of Chicago Police Officers Jermaine Townsend, Gemera Brown, Henry Lai
Marco Torres, David Brown (Superintendent of the City of Chicago Police Department)
Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba, Kelvin Williams,

Robert Costello, Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal,
Steven Rowling and other unidentified Chicago Police Officers “acted in concert”

Plaintiff’s incorporates by reference 4] 1 through 26 above as if fully set forth herein.

27. Defendants told Plaintiff she was under arrest.

28. Defendants seized and searched the female Plaintiff while she was naked from the waist down.

29. Defendant male police saw the female Plaintiff naked.

30. Defendants forced Plaintiff’s hands behind her back and removed her from her residence
against her will.

31. Defendants physically kept Plaintiff’s hands handcuffed behind her back by while police
willfully “torture handcuffed” her with steel handcuffs cutting into her wrists cutting off her blood
circulation, causing her excruciating pain, red swelling, numb hands fingers and nerve damage.

COUNT Il
EXCESSIVE FORCE:

Defendant: City of Chicago Police Officers: Jermaine Townsend, Gemera Brown,
David Brown (Superintendent of Chicago Police Department), Henry Lai, Marco Torres,
Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba, Kelvin Williams, Robert Costello,
Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal, Steven Rowling
and other unidentified Chicago Police Officers “acted in concert”

Plaintiff incorporates by reference {| 1 through 31 above as if fully set forth herein.

32. On April 7, 2021, Defendants used excessive force on the Plaintiff, Grace Stovall, while acting
within the course and scope of their employment as City of Chicago employees.

33. On April 7, 2021, Defendants “acted in concert” with their accomplices to willfully violate the
Plaintiff, Grace Stovall’s Civil/Constitutional rights.

34. The April 7, 2021, force was unreasonable, done without legal justification, without a warrant
without probable cause and without due process. 5 of 14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 6 of 24 PagelD #:107

35. Plaintiff suffered injuries, bruises, lacerations and bodily harm due to the force used against her.

36. There was no legal justification or probable cause to use the amount of force utilized by the
Defendants.

37. The Plaintiff’s conduct before, during, and after the use of force did not warrant the amount of
force utilized by Defendants against the Plaintiff.

38. At the time that force was used against the Plaintiff, Defendants knew, or should have known, that
there was no probable cause or legal justification to use the amount of force that was used against
the Plaintiff.

39. The force used by the Defendants was under color of law, was objectively unreasonable and with
malice, and was undertaken intentionally and with a willful indifference to the Plaintiff's
Constitutional Rights.

ao. As a direct and proximate consequence of said conduct of the Defendants, and the Defendants
“acting in concert” with their accomplices, the Plaintiff suffered violations of her Constitutional
Rights, emotional anxiety, fear, pain, police brutality bruises all over her body, trauma, suffering,
significant losses, missing critical deadline dates and other damages.

WHEREFORE, The Plaintiff, Grace Stovall, prays for judgment against the Defendant, jointly and severally,
for reasonable compensatory damages and punitive damages, plus attorney’s fees and costs
and any other relief this Honorable Court deems just and appropriate.

COUNT IV
FAILURE TO INTERVEINE:

Defendant: City Of Chicago Police Officers: Jermaine Townsend, Gemera Brown, Henry Lai
Marco Torres, Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba, Kelvin Williams,
Robert Costello, Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal,
Steven Rowling, David Brown (Superintendent of the City of Chicago Police Department)
and other unidentified City of Chicago Police Officers who “acted in concert”

 

Plaintiff incorporates by reference q 1 through 40 above as if fully set forth herein.

41. At the time that force was used against the Plaintiff, each individual Defendant Officer was in close
proximity to both the Plaintiff and the other Defendant Officers, and could have intervened to stop
or prevent the use of force, but failed to do so.

42. The misconduct by Defendants was objectively unreasonable and with malice and was undertaken
intentionally or with a willful indifference to the Plaintiff’s Constitutional rights. 6 of 14
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Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 7 of 24 PagelD #:108

Defendant’s actions were undertaken in violation of Plaintiff's rights as guaranteed by the
Constitution of the United Stated of America.

As a direct and proximate consequence of said conduct of the Defendants “acting in concert”, the
Plaintiff suffered violations of her Constitutional rights, emotional anxiety, fear, pain, trauma,
suffering, significant losses and other damages.

WHEREFORE: The Plaintiff, Grace Stovall, prays for judgement against the Defendants, jointly and severally,
for reasonable compensatory damages and punitive damages plus attorney’s fees and costs, and any other
relief this Honorable Court deems just and appropriate.

COUNT V- INDEMINIFICATION- CITY OF CHICAGO

Plaintiff incorporates by reference | 1 through 44 above as if fully set forth herein.

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Illinois law provides that public entities are directed to pay any tort judgement for compensatory
damages for which employees are liable within the scope of their employment activities.

Defendant Chicago Police Officers Jermaine Townsend, Gemera Brown, Henry Lai, Marco Torres,
Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcaba, Kelvin Williams, Robert Costello,

Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal, Steven Rowling
and other Unidentified Chicago Police Officers were at all relevant times employees of the

City of Chicago who acted within the scope of their employment in committing the police
misconduct and police brutality described herein.

WHEREFORE, should any of the Defendant Chicago Police Officers Jermaine Townsend,

Gemera Brown, Henry Lai, David Brown (Superintendent of Chicago Police Department

Marco Torres, Grzgorz Wilcvek, Sylvia Szarek, Gabriel Ruvalcava, Kelvin Williams, Robert Costello,
Tamara Margolis, Kellee Gary, Orlando Long, Joseph Aguirre, Dario Mariscal, Steven Rowling

and unidentified Chicago Police Officer be found liable for the acts committed above, the City

of Chicago would be liable to pay the Plaintiff, Grace Stovall, any judgment obtained against

said Defendants and their accomplices who “acted in concert”.

COUNT VI- MONELL LIABILITY

Plaintiff incorporates by reference 4] 1 through 46 as if fully set forth herein.

At all relevant times, Defendant City of Chicago, acting through the Chicago Police Department
developed, implemented, enforced, encouraged, and sanctioned de facto policies, practices, and
/or customs exhibiting deliberate indifference to the Plaintiff’s Constitutional rights which caused
the violation of such rights, including, but not limited to, the search and seizure of individuals

at their residences without justification and the use of excessive force and police brutality. 7 of 14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 8 of 24 PagelD #:109

49. The de facto policies, practices, and/or customs occurred not only in Plaintiff’s case but have also
occurred in other cases where Chicago Police Officers illegally searched an individual’s residence,
illegally searched and individual’s person, illegally seized and individual and used excessive force,
including, but not limited to the following:

a. Plevritis v. City of Chicago., No. 06 C 3401, 2007 U.S. Dist. LEXIS 68518 (N.D. Ill. Sep. 17, 2007),
where Chicago Police Officers entered and searched a private residence without probable cause
or a warrant ; Defendant Chicago Police Officers motion for Summary Judgment was denied.

b. Jacobs v. City of Chicago., 215 F.3d 758, 773-74 (7" Cir. 2000), where Chicago Police Officers
entered a residence without justification and the Defendant Police Officers use of force
against [arrestee] while executing and illegal search of his home and unlawful seizure
of his person was out of proportion to any danger that [arrestee] could possibly have posed
to the officers or any other member of the community. “The Court found that the arrestee’s
Fourth Amendment rights may had been violated.

c. See also “Investigation of the Chicago Police Department, “United States Dept. of Justice
Civil Rights Div. and U.S. Attorney’s Office Northern Dist. Of Ill., January 13, 2017, p.15
(We have serious concerns about the prevalence of racially discriminatory conduct by some
Chicago Police Department Officers and the degree to which that conduct is tolerated and in
some respects caused by deficiencies in Chicago Police Department’s systems of training,
supervision and accountability.
In light of these concerns, combined with the fact that the impact of Chicago Police Department
pattern or practice of unreasonable force fall heaviest on predominantly black and Latino
neighborhoods, restoring police community trust will require remedies addressing both
discriminatory conduct ant the disproportionality of illegal and unconstitutional patterns
of force on minority communities”)

d. Other cases involving illegal searches, seizures, and excessive force.

50. The aforementioned Constitutional abuses and violations routinely committed by
Defendant City of Chicago, through the actions of the Defendant officers, were and are directly
and proximately caused by policies practices, and or customs developed, implemented, enforce,
encouraged and sanctioned by Defendant City of Chicago, including the failure: (1) to adequately
train and supervise its police officers and agents, including the Defendants, thereby failing to
adequately discourage further Constitutional violations and unlawful conduct of the part of its
police officers; (2) to properly and adequately monitor and discipline its Police Officers, including
the Defendant Police Officers; and (3) to discipline Police misconduct, choosing instead to tolerate,
and thereby promote, the de facto policies, practices, and/or customs of illegally searching
residences, illegally searching and seizing residents, and using excessive force police brutality.

8 of 14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 9 of 24 PagelD #:110

51. The aforementioned Constitutional abuses and violations willfully committed by the Defendant

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City of Chicago, through the actions of the Defendant officers, were and are directly and
proximately caused by policies, practices, and/or customs developed implemented, enforced,
encouraged and sanctioned by Defendant City of Chicago, including the failure: (1) to adequately
train and supervise its Police officers and agents, including the Defendants, thereby failing to
adequately discourage further Constitutional violations and unlawful conduct on the part of its
Police officers; (2) to properly and adequately monitor and discipline its officers, including the
Defendant Police Officers; and (3) to discipline Police misconduct, choosing instead to tolerate, and
thereby promote, the de facto policies, practices, and or customs of illegally searching residences,
illegally searching and seizing residents, and using excessive force police brutality.

The aforementioned conduct and other conduct in other cases willfully committed by the
City of Chicago Police Officers constitutes de facto policies, practices, and/or customs
because the City of Chicago promoted, rather than discouraged, the following conduct:

a. The failure to have a system which monitors patterns of unconstitutional Police misconduct;

b. The failure to properly discipline sustained allegations of unconstitutional Police misconduct;

c. The failure to properly maintain records of judicial findings of Police misconduct, including, but
not limited to, illegal search, illegal seizure, and excessive force;

d. The failure to properly train, hire, monitor, and/or supervise Police officers.

e. Ade facto policy, practice, and custom of the policy code of silence results in Police officers
refusing to report instances of Police misconduct of which they are aware, including the use
of excessive force and the maltreatment of persons, despite their obligations under Chicago
Police Department regulations to do so. This conduct includes Police officers who remain silent
or willfully give false or misleading information during official investigations in order to protect
themselves or fellow officers from internal discipline or retaliation, civil liability, or criminal
prosecution;

f. The failure to discipline Chicago Police Officers who use excessive force or illegally search
and/or seize persons or property.

The aforementioned policies, practices, and customs, individually and collectively, have been
maintained and/or implemented with deliberate indifference by Defendant City of Chicago,

and its subsidiary department, and have encouraged the individual Defendant Police officers

to commit the aforementioned wrongful acts against the Plaintiff and therefore acted as a direct
and proximate cause of the complained of Constitutional violations and Plaintiff's injuries.

Defendant’s unlawful actions were done willingly, knowingly, and with the specific intent
to injure the Plaintiff. 9 of 14
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 10 of 24 PagelD #:111

WHEREFORE, the Plaintiff, Grace Stovall, prays for judgment against the Defendant City of Chicago
for reasonable compensatory damages and punitive damages, plus attorney’s fees and costs, and
any other relief this Honorable Court deems just and appropriate.

Plaintiff requests a trial by Jury

COUNT VII
DEFENDANT CITY OF CHICAGO POLICE “ACTED IN CONCERT” WITH THEIR ACCOMPLICES
TO COMMIT CRIMINAL RICO RACKETEERING POLICE ROBBERY HOME INVASIONS

Plaintiff incorporates by reference 4 1 through 54 as if fully set forth herein.

55.The Defendant City of Chicago Police “acted in concert” to commit criminal Rico Racketeering Police
Robbery Raid Home invasions involving their accomplices, Defendant Mayor Lori Lightfoot and her
administration, David Brown, Kimberly Foxx, Melinda Barrett, Amy McCarty, Joseph Monahan, Tarick Loutfi,
Mario Cusumano, Mark Flessner, Michael Blanchard, Deeatra Love Blanchard, Mark Blanchard,

Steven Robinson and other unidentified Defendant Criminal RICO Racketeers to commit criminal RICO
Racketeering Police Robbery Raid Home Invasions.

56. Evidence confirms the Chicago Police Department is a criminal enterprise “acting in concert” to commit
criminal RICO Racketeering involving Police Robbery Raid Home Invasions.

57. Defendant City of Chicago Police acting in concert with their accomplices Amy McCarty,
Joseph Monahan, Monahan Law Group is a criminal enterprise “acting in concert” to commit criminal
RICO Racketeering involving Police Robbery Raid Home Invasions.

58. Defendant City of Chicago Police “acting in concert” with their accomplice Tarick Loutfi & Associates
is a criminal enterprise “acting in concert” to commit criminal RICO Racketeering involving RICO
Racketeering Police Robbery Home Invasions.

59. Defendant Chicago Police “acting in concert” with Mario Cusumano is a criminal enterprise

“acting in concert” with Michael Blanchard, Mark Blanchard Deeatrra Love Blanchard, Steven Robinson,
Amy McCarty, Tarick Loutfi, Kushala Vora to commit criminal RICO Racketeering involving RICO
Racketeering Police Robbery Home Invasions.

60. Evidence confirms that Defendant Mario Cusmano instructed Defendants:

Michael Blanchard, Mark Blanchard Deeatra Blanchard, Steven Robinson, Nanette Foster,
Wayne Thomas, Amy McCarty, Joseph Monahan, Tarick Loutfi, Gabriel Williams,

Alton Williams and numerous other unidentified Defendants “to take the law into their own
hands” because they could get away with committing these crimes without having to go to
court” due to the City of Chicago Police were “acting in concert” with them. 10 of 14
 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 11 of 24 PagelD #:112

61. Defendant Mario Cusumano would often discuss the Plaintiff's private business with his
accomplices Michael Blanchard and Deeatra Love Blanchard, Mark Blanchard, Kushala Vora,
Nanette Foster, Steven Robinson, Gabriel Williams, Alton Williams, Wayne Thomas and
others unknown Defendants who “acted in concert” to invade the Plaintiffs privacy
including his illegally taking pictures of the contents in the Plaintiffs apartment and
removing documents and items from her apartment and illegally disseminating the private
information to third parties.

COUNT VIII
DEFENDANT CITY OF CHICAGO POLICE “ACTED IN CONCERT” TO STALK AND TERRORIZE

Plaintiff incorporated by reference 4] 1 through 60 as if fully set forth herein.

62. Defendant City of Chicago Police “acted in concert” to commit malicious stalking, terrorizing and hunting
the Plaintiff with their accomplices Mario Cusumano, Michael Blanchard, Mark Blanchard, Deeatra Love
Blanchard, Steven Robinson, Nanette Foster, Wayne Thomas, Amy McCarty, Joseph Monahan, Tarick Loutfi,
Gabriel Williams, Alton Williams, Lori Lightfoot, Kimberly Foxx, David Brown (Superintendent of Police) and
unknown Defendants who “acted in concert” to stalk out, terrorize and hunt the Plaintiff while they
illegally meddled and terrorized her with unwanted obsessive stalking offenses to terrorize, taunt and
illegally interfere in the Plaintiff’s private affairs, without rights and without propriety while they willfully
fabricated false allegations about the Plaintiff’s lease, which is not under Chicago Police jurisdiction.

63. Evidence confirms the Defendant City of Chicago Police, their accomplices including numerous corrupt
City of Chicago employees “acted in concert” to use this “infamous Police robbery scheme” to willfully
commit Criminal RICO Racketeering Police Robbery Raid Home Invasions.

64. Defendant Gabriel Williams is a corrupt former City of Chicago employee that “fences stolen property on
his truck” and he stores the stolen property in a coach house that he lives in that he claims that he inherited
from another one of his victims of his deceptive practices that he commits with his accomplices

Michael Blanchard, Mark Blanchard and Deeatra Love Blanchard who notarizes counterfeit documents.

COUNT IX
DEFENDANT CITY OF CHICAGO POLICE “ACTED IN CONCERT” TO WILFULLY COMMIT
ENDANGERMENT AND WILLFUL FAILURE TO SERVICE AND PROTECT A VICTIM

Plaintiff incorporated by reference 4 1 through 64 as if fully set forth herein. 11 of 14

65. The Defendant City of Chicago Police “acted in concert” to willfully commit endangerment,
abandonment and willful failure to service and willful failure to protect the Plaintiff who was an

obvious victim languishing in dangerous, hazardous conditions.

a. The Defendant City of Chicago Police “acted in concert” to willfully ignore the numerous 30 plus,

8x10 signs the Plaintiff posted on her apartment walls to “cry out for help”.

b. The numerous 30 plus, 8x10 signs the Plaintiff posted on her apartment walls (for help) had her name,her
apartment number, her address at 5114/5112 S. Ingleside on the signs along with her contact information.
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 12 of 24 PagelD #:113

COUNT X
DEFENDANT CITY OF CHICAGO POLICE “ACTED IN CONCERT” TO COMMIT TAMPERING WITH
PHYSICAL EVIDENCE AND WILLFULLY FABRICATING PHYSICAL EVIDENCE

Plaintiff incorporated by reference {| 1 through 65 as if fully set forth herein.

66. Defendant City of Chicago Police “acted in concert” with Michael Blanchard, Deeatra Love Blanchard,
Mario Cusumano, Mark Blanchard, Steven Robinson, Nanette Foster, Wayne Thomas, Amy McCarty,
Joseph Monahan, Tarick Loutfi, David Brown, Kimberly Foxx, Lori Lightfoot, and other unknown Defendants
who “acted in concert” to alter, destroy, conceal and remove records, documents and things with purpose
to impair its verity and impair its availability in such proceedings and investigations; and

67. Made, presented, fabricated, falsified records, documents, instruments and thing knowing it to be false
and with the purpose to deceive and mislead authorities who are engaged in such proceedings and
investigations.

68. The illegal tampering with the physical evidence and willfully fabricating physical evidence, exclusively
benefitted the Defendant Chicago Police and their accomplices and gave them illegal tactical advantages.

69. Defendant City of Chicago Police “acted in concert” with their aforementioned accomplices to willfully
“pervert the course of justice” to commit “fraud upon the court” by illegally “misdirecting the direction of
justice” to influence the outcome of their willfully fabricated, false cases to commit liable, slander and

defamation of character against the aggrieved Plaintiff who was a victim of assault and battery and abuse.

70. Defendant City of Chicago Police “acted in concert” to commit Malfeasance to fraudulently and illegally
use the 911 Emergency Call Center to willfully fabricate false Emergency calls with fabricate false reports to
willfully commit malicious prosecution false arrests of the Plaintiff as Police willfully commit Criminal RICO
Racketeering Police Robbery Raid Home Invasions involving the City of Chicago Police “acting in concert”
with Lori Lightfoot, David Brown (Superintendent of the Chicago Police Department), Kimberly Foxx,

Mario Cusumano, Amy McCarty, Joseph Monahan, Tarick Loutfi, Mark Flessner and other unidentified
Defendants who “acted in concert” to willfully and illegally conceal numerous Police body camera evidence
footages of their criminal RICO Racketeering Police Robbery Raid Home Invasions that traumatically injured
the Plaintiff causing her traumatic, life changing, devastating losses and injuries.

71. Evidence confirms the Defendant City of Chicago Police “acted in concert” to willfully sabotage
“Criminal” police reports by fraudulently tagging the Criminal police reports as Non-Criminal
to fraudulently and illegally avoid an investigation.

72. a. Intent: Defendant City of Chicago Police “acted in concert” to willfully and purposefully interfere with
the Plaintiff’s evidence and the Defendants had knowledge of the Court proceedings and investigations.

b. Knowledge: The Defendant City of Chicago Police “acted in concert” knowing and aware that their illegal
actions would result in damage to the evidence and illegal interference in current and future proceedings.

c. Evidence includes every kind of physical object or documents, legal briefs, depositions, affidavits
evidentiary evidence that was produced in legal trials, proceedings, and investigations, Federal Court mail,
including computer digital images, and video recordings, emails sent to the Plaintiff from the Federal Court.

d. Awareness: Defendant City of Chicago Police “acted in concert” to commit an obvious crime
knowing there were current and future proceedings. 12 of 14
 

 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 13 of 24 PagelD #:114

COUNT XI
DEFENDANTS “ACTED IN CONCERT” TO COMMIT CYBER THEFTS OF FEDERAL COURT EMAILS
SENT TO THE PLAINTIFF ON THE FEDERAL COURT ECF SYSTEM

Plaintiff incorporated by reference 4 1 through 72 as if fully set forth herein.

73. Defendants City of Chicago Police “acted in concert” with Defendants Michael Blanchard, Kushala Vora,
Nanette Thomas, Mark Blanchard, Deeatra Love Blanchard, Steven Robinson, Mario Cusumano,

Amy McCarty, Tarick Loutfi, Joseph Monahan and other unknown Defendants who used their personal
computers to steal, print and disseminate the Plaintiff’s private information to third parties including the
Plaintiff’s Federal Court emails and information involving her case sent to the Plaintiff on the United States
District Federal Court ECF system.

74. The Defendants thefts of the Plaintiff’s Federal Court emails caused to her to miss critical deadline dates
resulting in significant damages and significant losses as a result of her missing critical deadline dates
that were set by the Court.

COUNT XII
DEFENDANT CITY OF CHICAGO POLICE “ACTED IN CONCERT” TO STALK, TERRORIZE
AND TAKE ILLEGAL PHOTOGRAPHY OF THE PLAINTIFF IN HER APARTMENT,
IN HER BATHROOM IN HER BEDROOM AND ILLEGAL PHOTOGRAPHY OF THE CONTENTS
IN HER APARTMENT INVOLVING PHOTOGRAPHER LEROY DOYLE

Plaintiff incorporated by reference 4] 1 through 74 as if fully set forth herein.

75. The Defendant City of Chicago Police “acted in concert” to stalk out, terrorize and hunt down the
Plaintiff with their accomplices who illegally took numerous pictures and illegal surveillance of the Plaintiff
in her private apartment, in her private bedroom, in her private bathroom, when she would come and go in
and out of her apartment reporting the information to third parties while the Defendants “acted in concert”
to maliciously stalk, terrorize and hunt down the Plaintiff at the behest of Defendant City of Chicago Police
and their accomplices who “acted in concert” with photographer Leroy Doyle who committed the stalking,
terrorizing and illegal photography to defame and cast the Plaintiff in a false light without her consent.

76. When Plaintiff told the trespasser and intruder Leroy Doyle to stop taking pictures of her, he continued
to take more pictures of her and Leroy Doyle ran downstairs into Defendants Michael Blanchard and his
accomplices Deeatra Blanchard’s apartment on the 1* floor of the building at 5112-5114 S. Ingleside.

13 of 14
 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 14 of 24 PagelD #:115

COUNT XIII
DEFENDANTS CITY OF CHICAGO POLICE “ACTED IN CONCERT” TO WILLFULLY COMMIT
CRIMINAL CONTEMPT OF COURT

Plaintiff incorporated by reference 4] 1 through 76 as if fully set forth herein.

77. Defendant City of Chicago Police “acted in concert” with Defendants Michael Blanchard,

Mark Blanchard, Deeatra Blanchard, Steven Robinson, Mario Cusumano, Nannette Foster, Kushala Vora ,
Wayne Thomas to willfully commit Criminal Contempt of Court by willfully violating the Court order
dated July 6, 2021 which caused more damages and encouraged the numerous subsequent crimes
committed by these Defendants who continue to willfully violate the Court order to date and counting.

COUNT XIV
DEFENDANT CHICAGO POLICE “ACTED IN CONCERT” TO RETALIATE AGAINST THE PLAINTIFF
WHO IS A WHISTLEBLOWER, WITNESS AND VICTIM

Plaintiff incorporated by reference 4] 1 through 77 as if fully set forth herein.

78. The Defendants City of Chicago Police “acted in concert” to willfully endanger the life of the Plaintiff
by Defendant City of Chicago Police willfully and maliciously creating fraudulent, dangerous interactions
that traumatized and endangered the Plaintiff's life.

Plaintiff incorporated by reference 4 1 through 78 as if fully set forth herein.

WHEREFORE, the Plaintiff, Grace Stovall, prays for judgment against the Defendant City of Chicago

and their accomplices for reasonable compensatory damages and punitive damages, and

return of her “apartment full” of her possessions and evidentiary evidence, plus attorney’s fees and costs
and any other relief this Honorable Court deems just and appropriate.

Jury Demand

Plaintiff requests a trial by jury

Respectfully submitted,
By Grace L. Stovall, Plaintiff, Pro se Date: March 20, 2023

Plaintiff filed 10 pages of Exhibits with this complaint including exhibits 8, 9 and 10 that shows illicit messages from
Defendant Lori Lightfoot who “acted in concert” to illegally close 311 building complaints reported for dangerous and
explosive conditions of smoking electrical wires in the walls due to Blanchard’s illegal “meter jumpering”

to steal electricity for their building at 5114/5112 S. Ingleside, Chicago, Illinois

Michael Blanchard was sued by Peoples Gas for stealing gas resulting in Blanchard being banned from gas service
in Circuit Court cases Peoples Gas vs Michael Blanchard Circuit Court Cases 99M1161540 and 95M1001747 and the
City of Chicago sued (Slumlord) Michael Blanchard in Circuit Court Case 1987400301.

Also Evidence body camera video footages. 14 of 14
Case: 1:23-cv-01761 Document #: 8 Fiféd: 03/30/23 Page 15-.of 24 PagelD #116

 

 

 

 

 

 

 

35-2 AREA 2 SUMMONS os
(Court Branch # (Court Date/Time) (Arresting Agency #) Exhibit 1
or District #)
MISDEMEANOR COMPLAINT (This form replaces CCG-0655 , CCMC-0222 & CCMC-0225) (Rev. 3/19/99) CCCR-0655
SSS ee—e—eeeEeee———E—E—eEeEeee—e—E———————
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
The People of State of Dlinois,
Plaintiff
ve NO.
MICHAEL BLANCHARD
Defendant.
GRACE STOVALL complainan pears bef
(Complainant's Name Printed or Typed) a ore
The Circuit Court of Cook County and states the following: ;
That: . MICHAEL BLANCHARD of _5112 S INGLESIDE 1ST FL CHICAGO, ILLINOIS _ has, on or about
(defendant) (address)
4 APRIL 21 at the location of 5112 S INGLESIDE 3RD FL FLCHICAGO, IL COOK COUNTY
(date) ; (place of offense)
committed the offense(s) of BATTERY

 

in that he/she WITHOUT LEGAL JUSTIFICATION, KNOWINGLY AND INTENTIONALLY STRUCK GRACE STOVALL WITH A
2X4 BOARD AN STUCK THE VICTIM ABOUT THE HANDS, LEFT BRIEFLY CAME BACKED ARMED WITH A BOTTLE OF
MACE, AND SPRAYED THE VICTIM IN THE FACE WITH IT AND THE THREWA CHAIR AT THE VICTIM STRIKING
HERABOUT THE BODY.

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

to violation of 720 Miinols Complied Statutes a 12-3(A)(1)
(Chapter) ae A Bab Section) 7
A : 2
AOIC Code wo ae
“ (Complainant's Signature)
Cc - 5112 S INGLESIDE
(Complainant's Address)
STATE OF ILLINOIS (Complainant's Telephone)
COOK COUNTY } *s GRACE STOVALL

 

(Complainant's Name Printed or Typed)

The complainant, being first duly sworn on oath, deposes and says that he/she read the-foregoing complaint by hinvher subscribed and
that the same is true.

 
     

 

 

 

 

(Confplainant’s Signature)
C_
Subscribed and sworn to before me on this 5 day of APRIL 5 2021
1735/2
(Judge or Cler .

I have examined the above complaint and the person presenting the same and have beard evidence thereon, and am satisfied that there is
probable cause for filing same. Leave is given to file said complaint.

SUMMONS ISSUED, Judge

 

 

 

 

or Judge's No.
WARRANT ISSUED, Bail set at:
» or
BAIL SET AT: Judge
Judge's No.

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 16 of 24 PagelD #117

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I ‘NOTE TO STATE'S ATTORNEY .

 

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APPROVED BY JUDGE__ | [J

REJECTED BY JUDGE

 

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Case: 1:23-cv-01761 Document #; 8 Filed: 03/30/23 Page 17 of 24 PagelD #:118

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we a anes sh ‘| Exhibit 3

Identity and describe all property or possible evidence recovered at the ents of the Narrative in column form, Show exactly where found, when found, who found it and its description (include additional
Prpperty Inventory numbers). If property taken was scribed for Operation Identification, indicate 1.0. number at ent! of Narrative. Otfender's approximate description, if possible, should’ include mame if
known, sex, cace code, age, height, weight, color eyes & halr, complexion, scars, marks, ete. If suspect Is arrested, give name, sex, rece code, age, C.B. of 1.R. number, If known, and state "In Custody.”

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Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 18 of 24 PagelD #:119'

 

35-2 AREA 2 SUMMONS

Court Branch # ‘Court Date/Ti A ¥ ope

or District #) Court Date/Time) Arresting Agency) Exhibit 4

MISDEMEANOR COMPLAINT (This form replaces CCG-0655 , CCMC-0222 & CCMC-0225) (Rey. 3/19/99) CCCR-0655

 

IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 

 

The People of State of Hinois,
Plaintiff
v. NO.
MICHAEL BLANCHARD
Defendant.
GRACE STOVALL complainant, now appears before

 

(Complainant's Name Printed or Typed)
The Circuit Court of Cook County and states the following:

 

 

 

That: MICHAEL BLANCHARD of ___5112 S INGLESIDE 1ST FL, CHICAGO, IL __ has, on or about
(defendant) (address)
4 APRIL 21 st the location of 5112 S INGLESIDE 3RD FL, CHICAGO, IL COOK
(date) (place of offense)
committed the offense(s) of CRIMINAL TRESPASS TO RESIDENCE

 

in that he/she KNOWINGLY CAME TO THE PROPERTY OF GRACE STOVALL LOCATED AT 5112 S INGLESIDE 3RD FL
CAME INTO HER APARTMENT UNANNOUNCED, AND STATED, "| CAN COME INSIDE ANYTIME, BECAUSE IT'S MY
BUILDING". ABOVE CAMEINTO THE PROPERTY WITHOUT THE PERMISSION OR AUTHORITY OF GRACE STOVALL

 

in violation of __-_720_____—ttinots Compiled Statutes 5.0 + L
(Chapter) :

 
     

 

 

 

 

 

 

 

 

 

 

 

 

AOIC Code en
(Complajnan?’s Signature)
5112 S INGLESIDE
(Complainant's Address)
STATE OF ILLINOIS . (Complainant's Telephone)
COOK COUNTY } ” GRACE STOVALL

 

(Complainant's Namie Printed or Typed)

The complainant, being first duly sworn on oath, deposes and says that he/she read the fogegoing complaint by him/her subscribed and
that the same Is true.

7 (ectaplainiat's Signature)
APRIL _ 2021

 

Subscribed and sworn to before me on this 5 day of

 

(Judge or Clerk)

T have examined the above complaint and the person presenting the same and have heard evidence thereon, and am satisfied that there is
probable cause for filing same. Leave is given to file said complaint. *

SUMMONS ISSUED, Judge

or

WARRANT ISSUED, __ Bail set at:
. Or

BAIL SET AT: Judge

 

‘Judge's No.

 

 

Judge's No.

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS

 
 

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~—_

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 19 of 24 PagelD #:120

. , CHICAGO POLICE DEPARTMENT RD #: JE186398
ORIGINAL CASE INCIDENT REPORT
3510 S. Michigan Avenue, Chicago, Illinois 60653 Exhibit 5 = = ENT oe
(For use by Chicago Police Department Personnel Only) ——— #:

GPO-11.386 Cc.
(6/03)-G) Case ID: 12328702 CASR229

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IUCR: 0810 - Theft - Over $50

 
 

Occurrence 5112 S Ingleside Ave, #3 Beat: 0233 "Unit Assigned: "9187 7
Location: — Chicago IL 60615 _RO Arrival Date: 01 April 2021 15:09

090 - Apartment i we eee AAPM 202 1009 :
Occurrence Date: 31 March 2021 13:00 - 31 March 2021 21:00 s

    
   
    
  
  
 

    
  

g Name: STOVALL, Grace .
. Female ‘

Res: 5112S Ingleside Ave #3 Beat: 0233 ’ Black — = oe are
d ge: ears

Chicago IL 60615
773 - 540 - 8661

 

 

Name: BLANCHARD, Michael

 

    
 
  
  
   

   

Res: 5114S Ingleside Ave #1FL Beat: 0233 Male "Age: 70 years - 75 years *
Chicago IL 60615 Black UF -

- | §04-5'05 i

5442 Singleside Ave - - Beat: -0293---- | 110Jbs we
Chicago IL 60615 . White Hair . Ii

Short Hair Style . os

Landlord Light Brown Complexion i"

     

Se ac
At los od LA CES

Nome: BLANCHARD, Mark

Res: 5112SIngleside Ave #2FL Beat: 0233
Chicago IL 60615

 

Male Age: 30 years - 35 years
: Black
 5'04-5'05

| 110 Ibs

' Unknown Eyes

: Black Hair

: Afro Hair Style

: Dark Complexion

eae

  

Female Age: 60 years - 65 years
_ Black

5'07-5'08

145 Ibs

Unknown Eyes

Brown Hair

Short Hair Style
__ Light Brown Complexion

Res: 5114S Ingleside Ave #1FL Beat: 0233
Chicago IL 60615

 

 

Print Generated By: ZAPATA.CHRISTYA (PCOCN15) Page 1 of 4 05-APR-2021 09:48

NA |

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Case: 1:23-cv-01761 Document #: 8 Filed:'03/30/23 Page 20. of 24 PagelD. ted
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Name: ROBINSON, Steven

Res: 5114S Ingleside Ave #2FL Beat: 0233

Chicago IL 60615 . Black
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300 lbs
* Unknown Eyes
! Black Hair
Short Hair Style
__! Light Complexion

   
   

. Male Age: 60 years - 65 years

    
 

  

 

     

( Offender )

ins, -. "Biaeedl of BLANCHARD, Michael as

: (Victim) . . ( Offender )
i STOVALL, Grace : Isa Neighbor of BLANCHARD, Mark

(Victim) . ( Offender )

_ STOVALL, Grace tea Tanenter ‘ BLANCHARD, Deeatra
(Victim) ( Offender )

: STOVALL, Grace ROBINSON, Steven

(Victim)
STOVALL, Grace

isa __ Neighbor of

     

Victim Information Provided : Flash Message Sent? No

 

  
   
   
   
  
 

Quantity: 1 _Estimated Value: $200.00 Used as Weapon? No
Type: _ Purses/Handbags/Wallets Taken/Stolen? Yes
Description: Briefcase With Gold Zippers . Owner: Stovall, Grane . Recovered? No
Model #; Samsonite . . Seized? No

° Unknown Status? No

 
 
  

Dama ged?

   

Quantity: 10 . Used as Weapon?
Type: Office-Type Equipment . Taken/Stolen? Yes
Description: 10 Boxes Of Federal Litigation Owner: Stovall, Grace Recovered? No

Papers/Banker Boxes
Seized? No

Unknown Status? No

Print Generated By: ZAPATA,CHRISTYA (PCOCN15) Page 2 of 4 05-APR-2021 09:48
NA

 
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Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 21 of 24 PagelD #:122

. ,*. SCHICAGO POLICE DEPARTMENT RD #: JE189305
ORIGINAL CASE INCIDENT REPORT Case 10; 12331946 casr201
3510 S. Michigan Avenue, Chicago, Illinois 60653 E hibi 7 EVENT #: 2109408756
(For use by Chicago Police Deparment Personne! Only) . 4 X I it

CPD-11.388(6/03)-C

 
 

IUCR: 0460 - Battery - Simple

   
   

Occurrence 5112S Ingleside Ave ‘Unit Assigned: 0233

Location: Chicago IL RO Arri i :
Arrival Date: 04 734
090 - Apartment - Apartment Building ar

‘ Occurrence Date: 04 April 2021 14:23

 

 

  
   
  

    

fees

Name: STOVALL, Grace :

         
 

Res: 5112S Ingleside Ave 3 Beat: 0233 coe e DOB: 22 August 1962
- Chicago IL ' Age: 58 Years
773 - 540 - 8661 ; ae . Birth Place: Illinois
. . : 160 Ibs .
Sobriety: Sober Brow Eyed
CPD Officer:No Black Hair

   
 
 

Pony Tail Hair Style
[= Light Brown Complexion

Id&nfification:
Type : State Number
State Id INinols 314312628398

 

   
  
   
  

‘Injured BY offender Extent:. et
CPD First Aid Given? Yes CFD First Aid Given? Yes
Responding Unit: 04

Injury Cause: Other

  

Reason: Other

 

  
 
  

Male
Black
2 5'06,
ee . . - =) 4901bs.
Brown Eyes
Light Brown Complexion

    
    

Flash Message Sent ?

 

Page 1 of 2 05-APR-2021 09:50

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3/12/23, 2:46 PM

 

Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 22 of 24 PagelD #:123

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Exhibits 8, 9 and 10 shows illicit messages from Defendant Lori Lightfoot who “acted in concert”

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Exhibit 8

to illegally

close 311 building complaints reported for dangerous and explosive conditions of smoking electrical wires

in the walls, due to Blanchard’s illegal “meter jumping” to steal electricity for his building at 5114/5112
S. Ingleside, Chicago Illinois.
 

Case: 1: abe a} AA AON Fs 56) SRA D #:124

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Exhibits 8, 9 and 10 shows illicit messages from Defendant Lori Lightfoot who “acted in concert” to illegally
close 311 building complaints reported for dangerous and explosive conditions of smoking electrical wires

in the walls, due to Blanchard’s illegal ‘ ‘meter jumping” to steal electricity for his building at 5114/5112
S. Ingleside, Chicago Illinois.

   
 

- Case: 1:23-cv-01761 Document #: 8 Filed: 03/30/23 Page 24 of 24 PagelD #:125
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Exhibit 10

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Exhibits 8, 9 and 10 shows illicit messages from Defendant Lori Lightfoot who “acted in concert” to illegally
close 311 building complaints reported for dangerous and explosive conditions of smoking electrical wires

in the walls, due to Blanchard’s illegal “meter jumping” to steal electricity for their building at 5114/5112
S. Ingleside, Chicago Illinois.
